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United States Court of Appeals

FOR THE DISTRICT OF COLUMBIA CIRCUIT

No. 11-7066 September Term, 2011
FILED ON: JULY 31, 2012

KAREN FELD,

APPELLANT
V.
KENNETH FELD AND FELD ENTERTAINMENT, INC., oy e ~ . ee “ . \ 2

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APPELLEES

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Consolidated with 11-7072 th

Appeals from the United States District Court
for the District of Columbia
(No. 1:08-cv-01557)

Before: HENDERSON, ROGERS and GRIFFITH, Circuit Judges

JUDGMENT

These causes came on to be heard on the record on appeal from the United States District
Court for the District of Columbia and were argued by counsel. On consideration thereof, it is

ORDERED and ADJUDGED that the judgment of the District Court appealed from in
these causes is hereby affirmed, in accordance with the opinion of the court filed herein this date.

Per Curiam
FOR THE COURT:
Mark J. Langer, Clerk
BY:
/s/
Jennifer M. Clark
Deputy Clerk
ATrue copy:
Date: July 31, 2012 tes Court of Appeals
United oe i jumbia Circuit
Opinion for the court filed by Circuit Judge Griffith. _ “i \ ine ah f° _ Deputy Clerk,

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